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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §                Case No: 2:16-cv-00934
                                    §
FANDANGO MEDIA, LLC                 §
                                    §
      Defendant.                    §
___________________________________ §

      MOTION TO DISMISS FANDANGO MEDIA, LLC WITHOUT PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby moves to dismiss this

civil action without prejudice pursuant to Fed. R. Civ. P. 41 (a)(1)(a)(i). Plaintiff notes that

Defendant has filed neither an answer nor a motion for summary judgment. Further, no counsel

for Defendant has made an appearance in this case.

       Wherefore, Plaintiff requests that the Court dismiss Plaintiff’s claims without prejudice.
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Dated: September 1, 2016                   Respectfully submitted,


                                           /s/ Jay Johnson
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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this document has been served on all
counsel of record via electronic mail through Local Rule CV-5(a) on September 1, 2016.

                                           /s/ Jay Johnson
                                           Jay Johnson
